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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION
                                  www.flsb.uscourts.gov

In re:

CHANCE & ANTHEM, LLC,                                        Case No. 18-16248-BKC-MAM
                                                             Chapter 7
         Debtor.
                                        /

         MOTION BY ROBERT C. FURR, CHAPTER 7 TRUSTEE TO APPROVE
            SETTLEMENT AND COMPROMISE CONTROVERSY WITH
               ADVERSARY DEFENDANT, RICHARD CLEVELAND

                Any interested party who fails to file and serve a written
                response to this Motion within 21 days after the date of service
                stated in this Motion shall, pursuant to Local Rule 9013-
                1(D)(1), be deemed to have consented to the entry of an Order
                in the form attached to this Motion. Any scheduled hearing
                may then be cancelled.

         Robert C. Furr (the “Trustee”), as Chapter 7 Trustee for the Bankruptcy Estate of Debtor,

Chance & Anthem, LLC (the “Debtor”) and substantively Consolidated Debtors (i) Sovereign

Gaming & Entertainment, LLC (“Sovereign”); (ii) Florida’s Association of Community Banks

and Credit Unions, Inc. (“FLACC”); and (iii) Sympatico Equine Rescue, Inc. (“Sympatico”)

(collectively, the “Consolidated Debtors”), by and through counsel, and pursuant to Fed. R.

Bank. P. 9019 and Local Rules 9013-1(D)(3) and 9019-1, files this Motion by Robert C. Furr,

Chapter 7 Trustee, to Approve Settlement and Compromise Controversy (the “Motion”)1 with

Adversary Defendant, Richard Cleveland (“Cleveland” or “Defendant”) (together, the “Parties”)

and in support thereof states, as follows:

                                            BACKGROUND

         1.     On January 29, 2018 (the “Petition Date”), the Debtor filed a voluntary petition
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for bankruptcy relief under the Bankruptcy Code in the United States Bankruptcy Court for the

District of Maryland (the “Bankruptcy Case”) [ECF No. 1].

        2.       On May 24, 2018, the Bankruptcy Court for the District of Maryland entered its

Memorandum and Order Transferring Venue to the Bankruptcy Court for the Southern District

of Florida [ECF No. 73], which transferred the Bankruptcy Case to this Court.

        3.       On May 25, 2018, Robert C. Furr was appointed as the Chapter 7 Trustee for the

Debtor’s bankruptcy estate (the “Estate”) [ECF No. 76].

        4.       On January 4, 2021, the Trustee filed Chapter 7 Trustee Robert C. Furr’s Agreed

Motion to Substantively Consolidate Non-Debtors (I) Sovereign Gaming & Entertainment, LLC;

(II) Florida’s Association of Community Banks and Credit Unions, Inc.; and (III) Sympatico

Equine Rescue, Inc. (the “SubCon Motion”) [ECF No. 284].

        5.       On January 29, 2021, the Bankruptcy Court granted the SubCon Motion, and

substantively consolidated Sovereign, FLACC and Sympatico with the Debtor’s bankruptcy

estate (the “SubCon Order”) [ECF No. 300], effective as of the Petition Date.

        6.       On January 28, 2022, the Plaintiff commenced an adversary proceeding in the

matter styled Furr v. Cleveland, Adv. Pro. No. 22-01028- MAM (the “Adversary Case”) seeking

damages in the amount of $61,000.00 (the “Transfer”) by filing an Adversary Complaint to

Avoid and Recover Fraudulent Transfers and for Other Relief (the “Adversary Complaint”)2

[Adv. ECF No. 1] against the Defendant.

        7.       In the Adversary Complaint, the Plaintiff asserted various causes of action and

claims against the Defendant for (i) Count I – Avoidance and Recovery of Fraudulent Transfers

Pursuant to §§ 544 and Chapter 726 of the Florida Statutes; (ii) Count II – Avoidance and


1
 Unless defined herein, all capitalized terms shall have the same use and meaning as set forth in the Settlement
Agreement and Adversary Complaint, as referenced below.

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Recovery of Fraudulent Transfers Pursuant to Section 544 of the Bankruptcy Code and Section

726.106(1) of the Florida Statutes; (iii) Count III – Avoidance and Recovery of Property

Pursuant to Section 550 of the Bankruptcy Code; and (iv) Count IV – Unjust Enrichment

(collectively, the “Claims”).

           8.       On January 31, 2022, the Court entered its Order Setting Status Conference and

Establishing Procedures and Deadlines (the “Order Setting Status Conference”) [Adv. ECF No.

3] and on April 13, 2022, the Bankruptcy Court held a Status Conference in the Adversary Case.

           9.       On March 14, 2022, the Defendant filed his Answer and Affirmative Defenses

(the “Answer”) [Adv. ECF No. 6], denying liability and raising various affirmative defenses to

the Claims asserted in the Adversary Complaint (the “Defenses”).

           10.      Thereafter, on February 2, 2023, the Bankruptcy Court entered its Third Amended

Order Setting Filing and Disclosure Requirements for Pretrial and Trial [Adv. ECF No. 23]

which provided, among other things, for the continuance of the pretrial conference and

corresponding pretrial disclosures and deadlines previously scheduled in this Adversary Case to

May 17, 2023 (the “Pretrial Conference”).

           11.      During the past several months, the Parties have engaged in discovery and good

faith settlement discussions regarding the Claims and Defenses raised in the Adversary Case.

The Trustee has also analyzed and considered the anticipated difficulties and administrative costs

to the Estate in continuing to litigate the Adversary Case and, if successful, collecting on any

potential judgment against Cleveland.

           12.      Significantly, on March 28, 2023, the Parties attended mediation (the

“Mediation”) before Leslie S. Osborne, Esq. of the law firm Rappaport Osborne & Rappaport,

PLLC (the “Mediator”). In order to avoid the high costs and uncertainties associated with


2
    Unless defined herein, all capitalized terms shall have the same use and meaning as set forth in the Complaint.
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litigation, and without admitting fault or liability whatsoever, the Parties reached a global

settlement of the Adversary Case at the Mediation (the “Settlement”).

          13.      Accordingly, on March 28, 2023, the Parties executed that certain Settlement

Agreement and Releases (the “Settlement Agreement” or “Agreement”), attached hereto and

incorporated by referenced herein as Exhibit “A”.

          14.      A brief explanation of the principal terms of the Settlement is set forth below.

However, creditors and parties-in-interest are encouraged to read the Settlement Agreement

carefully; and in the event of an inconsistency between the terms of the Settlement Agreement

and this Motion, the terms of the written Settlement Agreement shall control.

          15.      The principal terms of the Settlement Agreement with the Defendant are, as
follows:
          i.       Settlement Payment. In full and final satisfaction of any and all Claims asserted
                   in the Complaint against Cleveland, and subject to the terms and conditions of
                   this Settlement Agreement, the Defendant shall pay to the Trustee the total sum
                   of Twenty-Five Thousand ($25,000.00) Dollars to be paid in installments as
                   provided herein (the “Settlement Amount” or “Settlement Payments”) and upon
                   the entry of an Approval Order (as defined below) approving this Agreement.
                   The Settlement Payments shall be due and payable to the Trustee, as follows:

                   a.       Within five (5) calendar days after the Bankruptcy Court enters the
                            Approval Order approving this Settlement Agreement as set forth in ¶3
                            below, the Defendant shall pay to the Trustee the sum of $1,000.00,
                            representing the initial settlement payment due hereunder (the “Initial
                            Payment”); and

                   b.       The remaining balance of the Settlement Amount shall be paid in twelve
                            (12) equal monthly payments of $2,000.00, commencing on or before the
                            first (1st) day of each month thereafter (the “Installment Payments”).3

          ii.      Bankruptcy Court Approval Required. This Settlement Agreement shall be
                   subject in all respects to Bankruptcy Court approval of the Trustee’s motion
                   seeking to compromise controversy as between the Parties and approving this
                   Settlement Agreement pursuant to Rule 9019, Federal Rules of Bankruptcy
                   Procedure (the “9019 Motion”) and entry of a final, non-appealable order
                   granting the 9019 Motion (the “Approval Order”). For purposes of this

3
    Defendant may prepay any portion of the Settlement Payments at any time hereunder without penalty.

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                 Settlement Agreement, the term “Approval Order” means an order entered by the
                 Bankruptcy Court, the implementation, operation, or effect of which has not been
                 stayed and as to which order (or any revision, modification, or amendment
                 thereof) the time to appeal or seek review or rehearing or writ of certiorari has
                 expired and as to which no appeal or petition for review or rehearing or certiorari
                 has been taken and is pending. Following the Effective Date, the Trustee shall
                 prepare and file the 9019 Motion with the Bankruptcy Court. If the Bankruptcy
                 Court does not approve and enter the Approval Order, this Settlement Agreement
                 shall be null, void and of no further force and effect, and (if applicable) the
                 Trustee shall return any portion, if any, of the Settlement Amount previously
                 received from the Defendant.

        iii.     Furthermore, this Settlement Agreement is contingent upon and subject to the
                 Trustee’s verification and acceptance as to the financial condition of Cleveland
                 as represented by the Defendant during the Mediation. Within seven (7) days of
                 the Effective Date hereof, the Defendant shall provide the Trustee with (i) 2
                 years of the Defendant’s individual and corporate federal income tax returns for
                 the years 2020 and 2021; and (ii) 1 year of the Defendant’s individual and
                 corporate banking statements for the calendar year 2022 through March, 2023.4

          ii.    Mutual Release. Effective upon confirmation of receipt and bank clearance of
                 the Initial Payment and Installment Payments comprising the Settlement
                 Amount, and except for the obligations set forth in this Settlement Agreement,
                 the Parties forever remise, release, acquit, satisfy, and forever discharge one
                 another, including their respective successors, subsidiaries, predecessors,
                 affiliates, owners, officers, directors, employees, agents, assigns, representatives,
                 shareholders, attorneys and members and shall be deemed to have mutually
                 remised, released, acquitted, satisfied, and forever discharged one another
                 including (as applicable) their respective successors, subsidiaries, predecessors,
                 affiliates, owners, officers, directors, employees, agents, assigns, representatives,
                 shareholders, attorneys and members of and from all manner of actions, causes of
                 action, suits, debts, covenants, contracts, controversies, agreements, promises,
                 claims and demands whatsoever, which the Parties ever had or now have against
                 one another, or which any personal representative, successor, heir or assign of the
                 Parties hereafter can, shall or may have, by reason of any matter, cause or thing
                 whatsoever, whether known or unknown, from the beginning of time up through
                 the date of this Settlement Agreement, including, without limitation, all claims,
                 demands and defenses that were or could have been raised in the Bankruptcy
                 Case or any associated adversary proceeding, including, but not limited to, the
                 Adversary Case, causes of action under Chapter 5 or any other chapter of the
                 United States Bankruptcy Code, and any other claims and causes of action owned
                 or controlled by the Trustee or that the Plaintiff has standing to pursue on behalf
                 of the Estate. The Defendant agrees to waive any additional claims against the
                 Estate for payment of the Settlement Amount pursuant to 11 U.S.C. § 502(h).

4
 For purposes of this paragraph, the Defendant shall provide the corporate tax returns for the entities known as
RYO Cigarettes of Boca, LLC and RYO Cigarettes of Boynton Beach, LLC (the “Companies”).

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                This paragraph, however, shall not operate or be construed to operate as a release
                or discharge of any of the obligations under this Settlement Agreement, and does
                not contemplate any releases to any third-parties not a party to this Agreement
                and/or third-party beneficiaries.

        iii.    Claims Waiver. As additional consideration for the releases contained herein,
                Defendant agrees to waive and withdraw any and all claims the Defendant
                asserted or may in the future assert against the Estate, including (without
                limitation) any claim which may arise pursuant to 11 U.S.C. § 502(h); provided,
                however, that nothing in this paragraph shall release any provisions of this
                Settlement Agreement.

        iv.     Default. In the event that the Defendant materially breach and otherwise fail to
                comply with the terms and conditions of this Settlement Agreement, then such
                occurrence shall constitute an event of default under the Agreement (the “Event
                of Default”). Upon an Event of Default, the Plaintiff, as Chapter 7 Trustee,
                and/or through counsel for Plaintiff, shall provide the Defendant, and/or its
                counsel, with written notice (the “Written Notice”) thereof as the alleged
                defaulting Party, as provided in the Notice provisions set forth below. The
                Written Notice shall provide the Defendant with five (5) calendar days from the
                date of such notice to cure the Event of Default (the “Grace Period”). Should the
                Defendant fail to cure the Event of Default within the Grace Period, then, the
                Plaintiff may upon the filing of a motion with the Bankruptcy Court seek to
                enforce this Agreement against the Defendant (the “Enforcement Motion”) for
                which the prevailing party shall after notice and hearing be entitled to an award
                of reasonable attorney’s fees and costs relative to the Enforcement Motion.
                Further, if Defendant fails to comply with the provisions of Paragraph (2) above
                regarding the Settlement Amount, which Event of Default is not cured within the
                Grace Period, the Plaintiff may file a motion for entry of default final judgment
                against the Defendant (the “Motion for Default”), which after notice and
                hearing, shall entitle Plaintiff to the entry of final judgment(s) against Defendant
                in the amount of $61,000.00, less any amounts paid to Plaintiff under this
                Settlement Agreement, plus accrued interest due thereon to the Estate (the “Final
                Judgment”), which judgments shall accrue at the federal statutory rate, together
                with an award of reasonable attorneys’ fees and costs, for which execution shall
                issue forthwith. The only defenses to the entry of the Final Judgment shall be
                related to the timeliness of the Settlement Amount and compliance with the
                Settlement Agreement. All other defenses relating to the merits of the Claims
                shall be deemed waived.

                 LEGAL ARGUMENT AND CITATION TO AUTHORITY

       16.      Fed. R. Bankr. P. 9019(a) provides that, “[o]n motion by the trustee and after

notice and a hearing, the court may approve a compromise or settlement. Notice shall be given to



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creditors, the United States trustee, the debtor, and indenture trustees as provided in Rule 2002

and to any other entity as the court may direct.” Fed. R. Bankr. P. 9019(a).

       17.     The standards for approval of a settlement in a bankruptcy proceeding requires the

Court to inquire into the reasonableness of the proposed settlement and to determine whether the

settlement falls below the lowest point of the range of reasonableness. In re Jackson Brewing

Company, 624 F.2d 599, 602–03 (5th Cir.1980); In re Arrow Air, 85 BR 886, 891 (Bankr. S.D.

Fla. 1988). Approval of a settlement in a bankruptcy proceeding is within the sole discretion of

the Court. In re Jackson Brewing Company, 624 F.2d 599, 602–03 (5th Cir.1980); In re Arrow

Air, 85 BR 886, 891 (Bankr. S.D. Fla. 1988). The standards for approval are well settled and

require the Bankruptcy Court to inquire into the reasonableness of the proposed settlement and to

determine whether the settlement falls below the lowest point of the range of reasonableness. Id.

       18.     In evaluating settlements, the Court “need not rest its decision whether to approve

a settlement upon a resolution of ultimate factual and legal issues which underlie the disputes

that are proposed to be compromised … rather, the Court may, and should, make a pragmatic

decision on the basis of all equitable factors.” In re Holywell Corp., 93 B.R. 291 (Bankr. S.D.

Fla. 1988) (emphasis in original, citations omitted).

       19.     In this regard, the Eleventh Circuit has set forth several factors to be considered

by the Bankruptcy Court in determining whether to approve the Stipulation in this case. See In re

Justice Oaks, II, Ltd., 898 F.2d 1544, 1549 (11th Cir.), cert. denied, 498 U.S. 959 (1990).

Accordingly, the Court must consider the following factors in determining whether to approve

the Settlement: (i) the probability of success in the litigation; (ii) the difficulties, if any, to be

encountered in the matter of collection; (iii) the complexity of the litigation involved and the

expense, inconvenience and delay necessarily attending it; and (iv) the paramount interest of the



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creditors and proper deference to their reasonable views in the premises. Id.

       20.     In applying the foregoing factors, the Trustee respectfully submits that the

Settlement falls well within the “range of reasonableness,” and satisfies the legal standard set

forth in Justice Oaks. Specifically, the Trustee submits that the Settlement satisfies the Justice

Oaks standards for the following reasons:

       a.      the probability of success in the litigation – With regard to weighing the

Settlement Agreement against the probability of success in the litigation, the Agreement will

avoid the difficulty and expenses that would be incurred (in a currently administratively

insolvent estate) if the Claims had to be litigated by the Trustee against the Defendant. Although

the Claims alleged against Cleveland are primarily for the avoidance and recovery of the

Transfer under the Bankruptcy Code and Florida state law, that were made to or for the benefit of

the Defendant, the Plaintiff will likely encounter difficulties in prosecuting these Claims under

the Adversary Complaint given some of the defenses raised in the Answer. Consequently, while

the Trustee believes the Claims against the Defendant is meritorious, the Trustee also recognizes

that there are inherent and unforeseen risks associated with such litigation. Further, in evaluating

the anticipated time and associated expense to the Estate in continuing to litigate these issues,

even if successful, may potentially outweigh the cost-benefit provided to the Estate under the

Settlement Agreement.

       b.      the difficulties, if any, to be encountered in the matter of collection – The

Trustee has evaluated the risks of collection that would potentially be encountered by the Estate

in pursuing litigation with the Defendant regarding the matter being resolved by the Agreement,

especially, without the benefit of any insurance policies in effect or other tangible assets to

collect upon with respect to the Claims. The Trustee has taken into account the ability of the



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Estate to monetize the Claims, and in determining the difficulties in collecting upon any

judgment that may be obtained by the Estate against the Defendant since, among other

countervailing factors, the Defendant is likely to appeal any judgment entered against him by the

Bankruptcy Court. In this regard, any award to the Plaintiff in connection with the Claims that is

subject to an appeal by the Defendant would likely be pursued (perhaps with the posting of a

supersedeas appellate bond by Cleveland), which would serve to significantly delay collection

upon a judgment.

       Furthermore, the Trustee has also taken into consideration the difficulties with executing

upon a judgment, if any, which would require additional bankruptcy and/or state court

proceedings that may deplete the Estate’s assets. As noted above, the Settlement was contingent

upon and subject to Plaintiff’s verification and acceptance of the financial condition of Cleveland

as represented during the Mediation. This provision of the Settlement Agreement required the

Defendant to provide the Plaintiff with (i) 2 years federal income tax returns for the years 2020

and 2021, and (ii) 1 year of banking statements for the calendar year 2022 through March, 2023,

with respect to Cleveland and the Companies. The Defendant timely complied with these

financial disclosures to the satisfaction of the Plaintiff. As such, the Trustee has determined that

the Settlement Agreement will avoid the difficulties and uncertainties of collecting and enforcing

any judgment, order or decree that may be entered by the Court against the Defendant.

       c.      the complexity of the litigation involved and the expense, inconvenience and

delay necessarily attending it – The nature of the Claims are such that continued litigation

would involve significant expense, delay, and inconvenience to the Parties. The underlying

issues would be expensive to pursue in that they would require, among other things, expert

witness discovery and trial testimony. Further, as noted above, and as set forth in the Agreement,



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the Defendant has agreed to the entry of Final Judgments for the full amount of the Claims in the

Event of Default.

       d.      the paramount interest of the creditors and proper deference to their

reasonable views in the premises – Finally, the Settlement Agreement is in the best interests of

the Estate and its creditors. Given the foregoing factors, the total consideration of $25,000.00 to

be paid by the Defendant, are material considerations for resolving the dispute. Therefore, it is

the Trustee and his counsel’s position that, based upon careful evaluation, the Agreement is in

the best interests of the Estate and its creditors. The Trustee asserts that the Agreement will cause

funds to be infused into the Estate without further legal fees and costs at an early stage in the

proceeding, and will eliminate the risk and high expense of protracted litigation, as well as the

uncertainty attached to the outcome. While the professionals for the Parties feel strongly about

their respective litigation positions, the Trustee believes it is in the best interests of the Estate to

avoid an expensive and protracted litigation.

       21.     In addition to the foregoing, the Plaintiff requests that the Court grant the Trustee

authorization to remit payment to the Mediator in the amount of $1,250.00 (the “Mediation Fee”)

to prepare for and conduct the successful Mediation. The invoice representing the Mediator Fee

is attached hereto as Exhibit “B”.

       22.     Therefore, the Trustee respectfully requests the Court grant this Motion and enter

the proposed order attached hereto as Exhibit “C” approving the Settlement Agreement.

including the approval of the Mediation Fee and remittance of payment to the Mediator.

       WHEREFORE, the Chapter 7 Trustee, Robert C. Furr, respectfully requests the Court

enter the proposed Order attached hereto as Exhibit “C” providing for the following relief: (i)

granting the Motion; (ii) approving the Settlement Agreement attached hereto as Exhibit “A”



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pursuant to Bankruptcy Rule 9019; (iii) approving the Mediation Fee and remittance of payment

to the Mediator; (iv) retaining jurisdiction over this matter to enforce the terms and conditions,

and otherwise resolve any disputes under or pertaining to the Settlement Agreement as may be

necessary or required; and (v) such other relief that the Court deems just and proper.

Dated: April 24, 2023.                         Respectfully Submitted,

                                               VENABLE LLP
                                               Proposed Counsel for Trustee
                                               200 East Broward Blvd., Suite 1110
                                               Fort Lauderdale, Florida 33301
                                               Telephone: (954) 453-8000
                                               Facsimile: (954) 453-8010

                                               By:    /s/ Barry P. Gruher
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                                                       bpgruher@venable.com
                                                       Maxine K. Streeter, Esq.
                                                       Florida Bar No.: 880477
                                                       mkstreeter@venable.com

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF

Notification to all users registered to receive electronic notification and/or via U.S. Mail to all

parties on the attached service list on this 24th day of April, 2023.

                                               By:    /s/ Barry P. Gruher
                                                        Barry P. Gruher, Esq.




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                                        SERVICE LIST

Served via CM/ECF

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1615 Forum Pl #3-A
West Palm Beach, FL 33401

Frank R. Zokaites
375 Golfside Dr
Wexford, PA 15090


All parties on the attached mailing matrix.




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Label Matrix for local noticing               27120 Ocean Gateway, LLC                       3485 Lago De Talavera Trust
113C-9                                        7745 Dawson Court                              c/o Sofiye Williams, Esq.
Case 18-16248-MAM                             Lake Worth, FL 33467-7719                      500 E. Broward Blvd.
Southern District of Florida                                                                 Suite 1710
West Palm Beach                                                                              Fort Lauderdale, FL 33394-3005
Fri Apr 21 14:09:35 EDT 2023
Chance & Anthem, LLC                          Office of the US Trustee                       Sarenil Associates
3445 Santa Barbara Drive                      51 S.W. 1st Ave.                               c/o Zaretsky Law Group
Wellington, FL 33414-7269                     Suite 1204                                     1615 Forum Place. Suite 3-A
                                              Miami, FL 33130-1614                           West Palm Beach, FL 33401-2316


3485 Lago De Talavera Trust                   3GEN VC, LLC                                   ABK South Properties, LLC
c/o Sofiye Williams, PA                       c/o Gerald Cantor                              c/o George Booras, Esq.
500 E. Broward Blvd., Suite 1710              4000 Hollywood Boulevard #500-N                1371 Hill Ave
Fort Lauderdale, FL 33394-3005                Hollywood, FL 33021-1224                       Melbourne, FL 32940-6948


All Pro Pool Service                          Apostle Construction                           Bay Area Disposal
13557 Barberry Drive                          716 Naylor Mill Road                           POB 189
Wellington, FL 33414-8518                     Salisbury, MD 21801-1114                       Owings, MD 20736-0189



Beaver Tree Service                           Christopher George and Dianna George           (p)COMPTROLLER OF MARYLAND
POB 2476                                      c/o Dianna George                              BANKRUPTCY UNIT
Salisbury, MD 21802-2476                      6126 Park Lane W.                              301 W PRESTON ST ROOM 409
                                              Lake Worth, FL 33449-6620                      BALTIMORE MD 21201-2383


David Fiore and Carl Stone                    David Fiore, et al.                            Delmarva Power
c/o Carl Stone                                c/o Sofiye Williams, Esq.                      5 Collins Drive #2133
1714 Hunters Path Lane                        500 E. Broward Blvd.                           Mail Stop 84CP42
Pittsburgh, PA 15241-3153                     #1710                                          Carneys Point, NJ 08069-3600
                                              Fort Lauderdale, FL 33394-3005

Delmarva Power & Light Co.                    Edgar A. Baker, Jr., Esq.                      Frank R Zokaites
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Newark, DE 19702-5440                         125 North Division Street, Room 101            Wexford PA 15090-9419
                                              Salisbury, MD 21801-5030


Frederick R. Volkwein                         Haynes Scaffolding & Supply, Inc.              Jeffrey M. Siskind
2727 Rosemary Avenue #3                       1210 Ortega Road                               3465 Santa Barbara Drive
West Palm Beach, FL 33407-5310                West Palm Beach, FL 33405-1077                 Wellington, FL 33414-7269



PTM Electric, Inc.                            Richard Barclay Neff Jr                        Richard Bell
16971 W. Hialeah Drive                        2760 Meadowlark Lane                           16192 Coastal Highway
Loxahatchee, FL 33470-3729                    West Palm Beach, Florida 33409-2019            Lewes, DE 19958-3608



Richard Bell                                  Richard Neff                                   Richard P. Zaretsky, Esq.
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Lewes, Delaware 19958-3608                    West Palm Beach, Florida 33409-2019            Suite 3A
                                                                                             West Palm Beach, FL 33401-2267
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Sarenil Associates, LLC c/o Frederick Volkwe           Sovereign Gaming & Entertainment, LLC                State of Maryland DLLR
1615 Forum Place                                       3485 Lago De Talavera                                Division of Unemployment Insurance
Suite 3A                                               Wellington, FL 33467-1071                            1100 N. Eutaw Street, Room 401
West Palm Beach, FL 33401-2316                                                                              Baltimore, MD 21201-2226


Steven S. Newburgh, Esq.                               T.E. Smith & Son, Inc.                               Wellington 3445, LP
McLaughlin & Stern PLLC                                2043 Northwood Drive                                 375 Golfside Road
CityPlace Office Tower - Suite 1700                    Salisbury, MD 21801-7800                             Wexford, PA 15090-9419
525 Okeechobee Boulevard
West Palm Beach, FL 33401-6349

Alan Barbee                                            Alan Bias                                            Carl Stone
GlassRatner Advisory & Capital Group                   7745 Dawson Court                                    c/o Sofiye Williams PA
1400 Centrepark Blvd #860                              Lake Worth, FL 33467-7719                            500 E Broward Blvd., #1710
West Palm Beach, FL 33401-7421                                                                              Ft Lauderdale, FL 33394-3005


Christopher George                                     David Fiore                                          Dianna George
c/o Sofiye Williams, Esq.                              c/o Sofiye Williams, Esq.                            c/o Sofiye Williams PA
500 E. Broward Blvd.                                   500 E. Broward Blvd.                                 500 E. Broward Blvd., #1710
Suite 1710                                             Suite 1710                                           Ft Lauderdale, FL 33394-3005
Fort Lauderdale, FL 33394-3005                         Fort Lauderdale, FL 33394-3005

Frederick Volkwein                                     George W. Liebmann                                   Robert C Furr
c/o Richard P. Zaretsky, Esq.                          Law Offices of George W. Liebmann, P.A.              www.furrtrustee.com
1615 Forum Place, Suite 3A                             8 West Hamilton Street                               2255 Glades Road Ste 419A
West Palm Beach, FL 33401-2316                         Baltimore, MD 21201-5008                             Boca Raton, FL 33431-7379




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Comptroller of the Treasury
Compliance Division, Room 409
301 W. Preston Street
Baltimore, MD 21201




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)West Palm Beach                                     (d)27120 Ocean Gateway, LLC                          (d)27120 Ocean Gateway, LLC
                                                       7745 Dawson Court                                    7745 Dawson Court
                                                       Lake Worth, FL 33467-7719                            Lake Worth, FL 33467-7719



(d)3GEN VC, LLC                                        (d)ABK South Properties, LLC                         (d)All Pro Pool Service
c/o Gerald Cantor                                      c/o George Booras, Esq.                              13557 Barberry Drive
4000 Hollywood Boulevard #500-N                        1371 Hill Avenue                                     Wellington, FL 33414-8518
Hollywood, FL 33021-1224                               Melbourne, FL 32940-6948
                                 Case 18-16248-MAM      Doc 350       Filed 04/24/23     Page 16 of 34
(d)Apostle Construction                       (d)Bay Area Disposal                          (d)Beaver Tree Service
716 Naylor Mill Road                          POB 189                                       POB 2476
Salisbury, MD 21801-1114                      Owings, MD 20736-0189                         Salisbury, MD 21802-2476



(d)David Fiore, et al.                        (d)Frederick R. Volkwein                      (d)Haynes Scaffolding & Supply, Inc.
c/o Sofiye Williams, Esq.                     2727 Rosemary Avenue #3                       1210 Ortega Road
500 E. Broward Blvd. #1710                    West Palm Beach, FL 33407-5310                West Palm Beach, FL 33405-1077
Fort Lauderdale, FL 33394-3005


(d)PTM Electric, Inc.                         (u)Sovereign Gaming & Entertainment, LLC      (d)T.E. Smith & Son, Inc.
16971 W. Hialeah Drive                        INVALID ADDRESS PROVIDED                      2043 Northwood Drive
Loxahatchee, FL 33470-3729                                                                  Salisbury, MD 21801-7800



(d)Frank R. Zokaites                          (d)Jeffrey M Siskind                          (d)Jeffrey M Siskind
375 Golfside Dr                               3465 Santa Barbara Drive                      3465 Santa Barbara Drive
Wexford, PA 15090-9419                        Wellington, FL 33414-7269                     Wellington, FL 33414-7269



End of Label Matrix
Mailable recipients      44
Bypassed recipients      18
Total                    62
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                    EXHIBIT “A”
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Case 18-16248-MAM   Doc 350   Filed 04/24/23   Page 24 of 34
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                    EXHIBIT “B”
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                    EXHIBIT “C”
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                                        [PROPOSED]



                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION
                                   www.flsb.uscourts.gov

In re:

CHANCE & ANTHEM, LLC,                                      Case No. 18-16248-BKC-MAM
                                                           Chapter 7
         Debtor.
                                        /

     ORDER GRANTING MOTION BY ROBERT C. FURR, CHAPTER 7 TRUSTEE
     TO APPROVE SETTLEMENT AND COMPROMISE CONTROVERSY WITH
             ADVERSARY DEFENDANT, RICHARD CLEVELAND

         THIS CAUSE came before the Court without a hearing on the Motion by Robert C. Furr,

Chapter 7 Trustee to Approve Settlement and Compromise Controversy with Adversary

Defendant, Richard Cleveland [ECF No. ____] (the “Motion”) filed by Robert C. Furr

(“Plaintiff” or “Trustee”), as Chapter 7 Trustee for the Debtor, Chance & Anthem, LLC

(“Debtor”). The Trustee by submitting this form of order having represented that the Motion was

served on all parties required by Bankruptcy Rule 2002 and Local Rule 2002-1(H), (I) or (J), that

the 21-day response time provided by Local Rule 9013-1(D) has expired, that no one has filed, or

served on the Trustee, a response to the Motion, and that the form of order was attached as an

exhibit to the Motion. The Court, having reviewed the Motion and Settlement Agreement, and

other court filings finds that settlement would be in the best interests of the Estate and its

creditors, it is,

         ORDERED, as follows:

         1.         The Motion is GRANTED.
            Case 18-16248-MAM           Doc 350      Filed 04/24/23     Page 34 of 34




       2.      The terms of the Settlement Agreement attached to the Motion as Exhibit “A”

(the “Settlement”) are hereby approved and incorporated by reference as if fully set forth herein.

       3.      The Parties to the Settlement Agreement are authorized and directed to take any

and all actions to execute any and all documents necessary to effectuate the terms and conditions

of the Settlement and in accordance with this Order.

       4.      The Trustee is authorized to remit payment of the approved Mediation Fee in the

amount of $1,250.00 to the Mediator c/o Leslie S. Osborne, Esq. of Rappaport Osborne &

Rappaport, PLLC forthwith.

       5.      The Court retains jurisdiction to enforce the terms of the Settlement.

                                               ###

Submitted by and Copy to:

Barry P. Gruher, Esq.
VENABLE LLP
Proposed Counsel for the Chapter 7 Trustee
200 E. Broward Boulevard, Suite 1110
Fort Lauderdale, Florida 33301
Tel: (954) 453-8000
Fax: (954) 453-8010
Email: bpgruher@venable.com

[Attorney Gruher shall serve a copy of this Order to all interested parties and file a certificate of
service]




                                                 2
